         Case 1:17-cv-01643-JDB Document 15 Filed 02/01/18 Page 1 of 26




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


GREGORY L. REYES,                             )
                                              )
               Plaintiff,                     )
                                              ) Civil Action No. 17-cv-1643 (JDB)
               v.                             )
                                              )
JEFFERSON B. SESSIONS III, in his             )
official capacity as Attorney General of      )
the United States, et al.,                    )
                                              )
               Defendants.                    )
                                              )


            DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS

       Plaintiff is a convicted felon. While Plaintiff was the CEO of a public company, Brocade

Communications Systems, Inc. (“Brocade”), he defrauded Brocade’s shareholders by a scheme

of backdating stock options and then lying about it. Through this unlawful endeavor, Plaintiff

misappropriated hundreds of millions of dollars, including $13 million in backdated stock option

grants that he personally received. For this, Plaintiff was convicted of nine criminal violations of

the United States securities laws, sentenced to eighteen months in prison, and ordered to pay a

$15 million fine.

       In this case, Plaintiff insists he should be permitted to possess a firearm, notwithstanding

his status as a convicted felon. Plaintiff’s offenses fall squarely within the firearms prohibitions

set forth in 18 U.S.C. §§ 922(g)(1) and 922 (d)(1), which prohibit possession of a firearm by, and

transfer of a firearm to, a person convicted of a crime “punishable by imprisonment for a term

exceeding one year.” Nothing in Plaintiff’s opposition warrants excusing him from these

longstanding firearm dispossession laws.

                                                  1
         Case 1:17-cv-01643-JDB Document 15 Filed 02/01/18 Page 2 of 26



        As a threshold matter, Plaintiff lacks standing to challenge Section 922(d)(1), which only

prohibits transfer of firearms, not possession thereof. But, in any event, Plaintiff’s challenges to

both Sections 922(g)(1) and 922(d)(1) should be dismissed on the merits because: (1) Plaintiff’s

underlying felony conviction does not fall within a statutory exception from the firearms

disability; (2) application of the statutes to Plaintiff does not violate the Second Amendment; and

(3) the statutes do not violate Plaintiff’s right to equal protection.

        Accordingly, Defendants Motion to Dismiss should be granted.

I.      PLAINTIFF LACKS STANDING TO CHALLENGE SECTION 922(d)(1)

        Plaintiff lacks standing to challenge 18 U.S.C. § 922(d)(1). Section 922(d)(1) prevents

the transfer of “any firearm or ammunition” to a person who “has been convicted in any court of

[] a crime punishable by imprisonment for a term exceeding one year.” Because Plaintiff claims

only that he wishes to “acquire and [] possess firearms,” not that he wishes to transfer a firearm,

Compl. ¶ 28, Plaintiff has failed to allege facts plausibly demonstrating that Section 922(d)(1)

applies to him and can be enforced against him. See Lujan v. Defs. of Wildlife, 504 U.S. 555,

560-61 (1992).

        Nothing in Plaintiff’s opposition dictates otherwise. Plaintiff claims his standing is

established by “binding precedent,” relying on Dearth v. Holder, 641 F.3d 499 (D.C. Cir. 2011).

Pl.’s Mem. at 6 (ECF No. 13). But, Dearth did not address Section 922(d)(1) at all. Rather,

Dearth addressed a challenge to 28 U.S.C. §§ 922(a)(9) and 922(b)(3), which together prevent a

person who lives outside the United States from lawfully purchasing a firearm in the United

States, and it nowhere directly addressed the question at issue here – that is, whether a person




                                                   2
            Case 1:17-cv-01643-JDB Document 15 Filed 02/01/18 Page 3 of 26



who has no intention of transferring a firearm nonetheless has the right to challenging a

prohibition against transferring a firearm. 614 F.3d at 500.1

        By contrast, the only court to address standing under 18 U.S.C. § 922(d)(1) held that a

plaintiff lacked standing to challenge the constitutionality of Section 922(d)(1) because, where a

person wishes only to acquire and possess a firearm, not to sell one, he cannot establish an injury

based on the statute. Wilson v. United States, No. 3:05-0238, 2006 WL 519393, at *3 (M.D.

Tenn. Feb. 28, 2006). The instant case is indistinguishable from Wilson, and this Court should

reach the same conclusion here.

II.     PLAINTIFF’S FELONY CONVICTION IS NOT SUBJECT TO A STATUTORY
        EXCLUSION FROM THE FIREARMS PROHIBITIONS OF SECTIONS 922(g)(1)
        AND 922(d)(1).

        Plaintiff cannot dispute that he is a convicted felon whose crimes are “punishable by

imprisonment for a term exceeding one year.” 18 U.S.C. §§ 922(g)(1) and 922(d)(1).2 Instead,


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           While Dearth involved a challenge to both a statute prohibiting receipt, and a statute prohibiting
the sale, of firearms to persons who live outside the United States, it did not include a challenge to the
“seller” statute on the basis that the plaintiff had no intention to sell a firearm. Rather, the central
question in Dearth was whether standing could be established absent the government first denying the
plaintiff a firearms permit or license. 614 F.3d at 502. The Court held that the absence of a permit
requirement in the regulatory scheme was “of no moment” because it had “thwart[ed]” the plaintiff’s
“continuing desire to purchase a firearm.” Id.at 502-03. Plaintiff also cites a Fifth Circuit case, NRA v.
ATF, 700 F.3d 185 (5th Cir. 2012), which concerned a challenge to 18 U.S.C. § 922(c)(1), a statute that
prevented federal firearms licensees from selling handguns to law-abiding adults under the age of twenty,
not Section 922(d)(1). To the extent NRA could be deemed analogous to the statutory scheme here, it is
not binding on this Court. But, in any event, NRA is distinguishable because there the NRA had filed suit
on behalf of its Federal Firearms Licensee (FFL) members, id. at 188, who as FLLs regularly sold
firearms. No similar plaintiffs are present here. Moreover, any reliance on NRA is undercut by a more
recent Fifth Circuit decision, Bezet v. United States, No. 17-30303, --- Fed. Appx. ---, 2017 WL 4876311
(5th Cir. Oct. 27, 2017), in which the court held that a plaintiff lacked standing to challenge tax and
registration laws for the transfer of firearms, because he had not alleged that he wished to transfer a
firearm. Id., at *4; see also Lane v. Holder, 703 F.3d 668, 672 (4th Cir. 2012) (holding that plaintiffs
lacked standing because “the laws and regulations they challenge do not apply to them but rather to the
[Federal Firearms Licensees] from whom they would buy handguns”).

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           Defendants henceforth address Plaintiff’s substantive arguments relating to Section 922(d)(1)
only in the alternative, in the event he Court were to reject Defendants’ standing arguments and hold that
it has jurisdiction over this claim.

                                                      3
            Case 1:17-cv-01643-JDB Document 15 Filed 02/01/18 Page 4 of 26



Plaintiff contends that he is not subject to the firearms disability set forth in Sections 922(g)(1)

and 922(d)(1), relying on a limited statutory exclusion for offenses “pertaining to antitrust

violations, unfair trade practices, restraints of trade, or other similar offenses relating to the

regulation of business practices.” 18 U.S.C. § 921(a)(20)(A) (the “exclusion”). The exclusion

does not encompass Plaintiff’s crimes, which include securities fraud and making false filings

with the SEC, falsifying corporate books and records, and making false statements to auditors.

        To determine whether the exclusion applies to Plaintiff’s felony convictions, Plaintiff

asks this Court to reject the clear “elements test” that has been unanimously adopted by the four

Courts of Appeals to address the scope of the statute. See Pl.’s Mem. at 17-23. Under the

elements test, courts have held that, a criminal offense only “pertains to,” or is “similar” to,

antitrust violations, unfair trade practices, or restraints of trade, if it required the government to

prove an adverse effect on competition and consumers as an element of the predicate crime.3 As

explained below, the elements test is the proper and logical framework for considering Plaintiff’s

claims; and application of the test demonstrates that Plaintiff’s crimes do not qualify for the

Section 921(a)(20)(A) exclusion.

        A.      Applicability of the Statutory Exclusion Should be Determined based on the
                “Elements Test” that Has Been Uniformly Applied by Circuit Courts.

        Every court to address 18 U.S.C. § 921(a)(20)(A) has rejected Plaintiff’s theory, and

concluded “that not all offenses related to the regulation of business practices fall within the

[Section 921(a)(2)(A)] exclusion.” United States v. Schultz, 586 F.3d 526, 530 (7th Cir. 2009)

(citing cases from the Second, Fifth, and Eighth Circuits); see also, e.g., United States v. Stanko,




        3
          Plaintiff repeatedly refers to the “elements” test as “the Government’s test,” in an apparent
attempt to minimize the fact that the test is a judicial creation. See Pl.’s Mem. at 17-18, 20-23.


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            Case 1:17-cv-01643-JDB Document 15 Filed 02/01/18 Page 5 of 26



491 F.3d 408, 415 (2007) (“[The exclusion] does not extend to all business-related offenses.”).4

Rather, the exclusion is limited and applies only to offenses “pertaining to” or that are “similar”

to the three types of offenses that Congress specifically enumerated – antitrust violations, unfair

trade practices, and restraints of trade. 18 U.S.C. § 921(a)(20)(A); see also Stanko, 491 F.3d at

414 (providing a detailed analysis of the statutory text). “‘Antitrust violations’ refers to

violations of laws that promote the unrestrained interaction of competitive forces within the

marketplace. ‘Unfair trade practices,’ sometimes referred to as ‘unfair competition,’ occurs

when one entity passes off its products as those of another, thereby harming consumers and other

businesses.” Dreher v. ATF, 943 F.Supp. 680, 683 (W.D. La. 1996), aff’d sub. nom., 115 F.3d

330 (5th Cir. 1997).

        The elements test is the consistent framework the Courts of Appeals have applied to

determine whether an offense “pertains to” or is “similar” to the three enumerated categories that

are excluded by Section 921(a)(20)(A). See Stanko, 491 F.3d 408 (holding that the exclusion did

not apply to a Federal Meat Inspection Act conviction); United States v. Coleman, 609 F.3d 699,

706 (5th Cir. 2010) (same for conspiracy to pirate encrypted satellite signals and infringe a



        4
           Plaintiff attempts to treat this on-point body of case law as a mere afterthought. Rather than
apply the relevant case law, Plaintiff embarks instead on what he terms a “broad[] inquiry into questions
of statutory purpose, structure and history.” Id. at 22; see id.at 8-21. From this, Plaintiff incorrectly
concludes that the “‘elements test’ is not a sound interpretation of the statute.” Id. at 18. Plaintiff’s
analysis is flawed for several reasons. First, Plaintiff’s textual analysis purports to prove that “the
Congressional purpose [of Section 921(a)(20)(A) is] to extend coverage beyond the listed offenses.” Pl.’s
Mem. at 8-11. But, there is no dispute about the fact that the exclusion applies beyond the three
enumerated categories. To the contrary, Defendants agree that the exclusion applies to offenses that both
pertain to and/or are similar to antitrust violations, unfair trade practices, and restraints of trade. Indeed,
that is precisely the category of additional defenses that the “elements” test is designed to identify.
Second, Plaintiff argues that Congress “established the business crimes exclusion” because it determined
that “permanently disarming persons who[] committed nonviolent offenses raised no genuine concerns
that their possession of firearms would pose a threat to public safety.” Id. at 10. Nothing in the
legislative history supports Plaintiff’s proposition (and he cites nothing for it). In fact, the legislative
history indicates the exact opposite. See infra Part II.C (discussing the legislative history of the Gun
Control Act, and the fact that Congress intended to disable both violent and non-violent felons).

                                                       5
            Case 1:17-cv-01643-JDB Document 15 Filed 02/01/18 Page 6 of 26



copyright); United States v. Schultz, 586 F.3d 526, 530 (7th Cir. 2009) (same for trafficking in

counterfeit telecommunications instruments); United States v. Meldish, 722 F.2d 26, 28 (2d Cir.

1983) (same for importing merchandise by means of false customs declaration); United States v.

Miller, 678 F.3d 649 (8th Cir. 2012) (same for fraudulent check cashing scheme); see also

Dreher, F.Supp. at 683 (W.D. La. 1996) (same for mail fraud and conspiracy to commit mail

fraud); United States v. Kruckel, Crim. A. No., 92-611 (JBS), 1993 WL 765648 (D.N.J. Aug. 13,

1993) (same for tax evasion).5 Under the “elements test,” a conviction only falls within the

business practices exclusion if it requires “the Government to prove an effect on competition or

consumers as an element of the offense.” Stanko, 491 F.3d 417. To meet this test, an underlying

conviction must have required the Government to prove a direct effect on competition – mere

“incidental effects are not relevant.” Schultz, 586 F.3d at 530.

        Plaintiff’s attempts to discredit this precedent lack merit, and his request for this Court to

invent its own test should be rejected. First, Plaintiff argues that the “elements” test is faulty

because courts have used it to determine both whether an offense “constituted” an unfair trade

practice, see Meldish, 722 F.3d at 28 (2d Cir. 1983),6 and also whether an offense is “similar” to

antitrust and/or unfair trade, see Stanko, 491 F.3d 408; Coleman, 609 F.3d at 706; Schultz, 586

F.3d at 530. See Pl.’s Mem. at 21. From this, Plaintiff incorrectly infers that the test must be

faulty, because applying this same test to identify both actual unfair trade practices and other



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          United States v. McLemore, 792 F. Supp. 96 (S.D. Al. 1992), is the sole case to consider the
exclusion and not apply the elements test. The court held that odometer rollback is an “unfair trade
practice,” notwithstanding the government’s arguments that the violation did not depend on whether it
had an effect on competition or consumers. Defendants maintain that McLemore is an outlier, and that
the Court should follow the well-reasoned opinions of the numerous courts discussed above.
        6
          United States v. Meldish, 722 F.3d 26, 28 (2d Cir. 1983), was decided before the statute
encompassed “other similar offenses relating to the regulation of business practices,” and thus only
applied the “elements” test to determine whether an offense “constituted” an unfair trade practice.

                                                    6
         Case 1:17-cv-01643-JDB Document 15 Filed 02/01/18 Page 7 of 26



“similar” offenses would render the latter subclasses of offenses “a null set.” Id. at 21-22.

Plaintiff’s theory misunderstands the very purpose of the elements test, which is to identify

predicate offenses that contain the same hallmark elements as antitrust and unfair trade offenses

– viz., those that require the Government to prove an effect on consumers and competition. In

other words, the very purpose of the elements test is to identify offenses that are similar to

antitrust and unfair trade practices precisely because they share those hallmark qualities. See

Stanko, 491 F.3d at 408; Coleman, 609 F.3d at 706; Schultz, 586 F.3d at 530; Miller, 678 F.3d at

649.

       Nor is Plaintiff’s remaining objection to the elements test compelling. Plaintiff postulates

that applicable case law does not support application of the “elements” test because the Fifth,

Seventh and Eighth Circuit Courts of Appeals did not explicitly declare that the sole outlier case,

a district court case from the Southern District of Alabama, see supra note 6, was “wrongly

decided.” The fact that these Courts of Appeals did not expressly “overrule” an unrelated district

court decision (from outside their jurisdiction) does not change the fact that these courts adopted

the elements test as the best logical framework to use.

       For the same reasons as found by the Second, Fifth, Seventh, and Eighth Circuits, this

Court should apply the elements test to determine whether Plaintiff is subject to a statutory

exclusion from the firearm dispossession laws.

       B.      Under the Requisite Elements Test, Plaintiff’s Felony Convictions are not
               Excluded from the Firearms Prohibitions because they do not “Pertain to,”
               nor are they “Similar” to Antitrust Violations, Unfair Trade Practices, or
               Restraints of Trade

       Plaintiff was convicted of nine counts of violating the United States securities laws,

including: (1) securities fraud and making false filings with the SEC; (2) making false statements

to auditors; and (3) falsifying corporate books and records. None of these offenses required the

                                                  7
            Case 1:17-cv-01643-JDB Document 15 Filed 02/01/18 Page 8 of 26



Government to prove a direct effect on consumers or competition. Thus, under the requisite

elements test, Plaintiff’s predicate offenses do not “pertain to,” nor are they “similar” to, antitrust

violations, unfair trade practices, or restraints of trade, and Plaintiff is not excluded from the

firearms prohibitions in Sections 922(g)(1) and 922(d)(1).

        On the face of the criminal statutes that form the basis of Plaintiff’s conviction, it is clear

that none of them require an effect on competition or consumers. See Defs.’ Mem. at 13-14

(providing detailed description of the elements of Plaintiff’s predicate offenses).7 Unable to

dispute this fact, Plaintiff instead argues that, when criminal securities statutes require unlawful

statements to be “material,” the term “material” should be equated with “affecting consumers or

competition.” Compl, ¶ 18; Pl.’s Mem. at 18. Putting aside the substantive flaws in Plaintiff’s

reasoning, his approach fails at the outset for the simple reason that not all of his predicate

offenses have a materiality requirement. Whereas Plaintiff’s Complaint alleges that “[a]n

element of each of [Plaintiff’s] offenses is that the misstatements are material,” Compl, ¶ 18,

Plaintiff now concedes that one of his offenses – falsifying corporate records – actually “does not

require proof of materiality.” Pl.’s Mem. at 19. Rather, the “corporate records” statute provides

only that issuers of registered securities must “make and keep books, records, and accounts,

which, in reasonable detail, accurately and fairly reflect the transactions and dispositions of the

assets of the issuer.” United States v. Reyes, 577 F.3d 1069, 1079 (9th Cir. 2009) (quoting 15

U.S.C. § 78m(b)(2)(A)). Because Plaintiff’s conviction for falsifying corporate records does not

require a “material” misrepresentation, much less a direct effect upon competition or consumers,

Plaintiff’s conviction clearly falls outside the exclusion. And because this offense alone places


        7
         For example, Plaintiff’s securities fraud convictions required the Government to show “a (1)
misleading (2) statement or omission (3) of a material fact (4) made with scienter.” Defs.’ Mem. at 13
(quoting Smith, 155 F.3d 1063).


                                                    8
            Case 1:17-cv-01643-JDB Document 15 Filed 02/01/18 Page 9 of 26



Plaintiff squarely within the firearms prohibitions in 18 U.S.C. §§ 922(g)(1) and 922(d)(1), the

Court need go no further.8

        If the Court were nonetheless inclined to address Plaintiff’s other convictions – for

securities fraud, and making false statements to auditors – it should find that those offenses also

fall outside the exclusion, as previously explained in Defendants’ opening brief. See Defs.’

Mem. at 13-16. Contrary to Plaintiff’s assertions, the fact that these offenses (unlike Plaintiff’s

books and records violation) require the Government to show that Plaintiff’s fraudulent

statements were “material,” does not in turn “require[] the Government to prove an effect on

competition or consumers.” Pl.’s Mem. at 18. The Supreme Court has held that materiality

does not require proof “that disclosure of the omitted fact would have caused the reasonable

investor to change his vote.” TSC Indus., Inc. v. Northway, Inc., 426 U.S. 438, 449 (1976).

Rather, the Government need only show “a substantial likelihood that the disclosure of the

omitted fact would have been viewed by the reasonable investor as having significantly altered

the ‘total mix’ of information made available.” Basic, Inc. v. Levinson, 485 U.S. 224, 231-32

(1988).9 This is not the same as requiring an effect on consumers or competition. Indeed, when

Congress wants to require an effect on consumers or competition as an element of a criminal


        8
           Plaintiff attempts to avoid this finding by suggesting that the statute’s “‘reasonable detail’
element serves similar ends as a materiality requirement.” Pl.’s Mem. at 19. That is incorrect. As
Plaintiff notes, in the regulations implementing this statute, the SEC expressly rejected a materiality
requirement. Id. (citing Promotion of the Reliability of Financial Information and Prevention of the
Concealment of Questionable or Illegal Corporate Payments and Practices, Exchange Act Release No.
15579, 1979 WL 173674, at *9 (Feb. 15, 1979)). And, while the SEC noted that the absence of a
materiality requirement resulted in greater protection for shareholders, this was precisely because the
statute does not require any proof regarding the significance of a qualifying false statement to a
reasonable investor. Indeed, there is no requirement in the statute that the falsified corporate records
could or would have any impact on investors at all.
        9
          This standard is consistent with the fact that the materiality requirement was intended by
Congress to weed out minor or inadvertent misstatements. See TSC Indus., 426 U.S. at 448 (explaining
that the purpose of a materiality requirement is to weed out “insignificant omissions or misstatements”).


                                                     9
         Case 1:17-cv-01643-JDB Document 15 Filed 02/01/18 Page 10 of 26



statute, it does so explicitly. Compare FTC Act, 15 U.S.C. § 45(n) (defining unfair trade practice

as an “act or practice [that] causes or is likely to cause substantial injury to consumers”)

(emphasis added).10 In other words, whether a criminal misstatement is material is a matter of

the degree, not the impact, of the statement.

        C.      The Legislative History Only Confirms that Plaintiff’s Securities Violations
                are Not Covered by the Exclusion

        Plaintiff, perhaps recognizing that the “elements test” does not resolve in his favor,

instead attempts to divert attention by focusing instead on the legislative history of “securities

regulation in this country.” Pl.’s Mem. at 11. Plaintiff’s broad survey of legislative history is

beside the point, because any consideration of “legislative history remains secondary to an

examination of the elements of the statute.” Coleman, 609 F.3d at 706; see also Stanko, 491

F.3d at 416-17 (explaining that the primary consideration is whether the Government had to

prove an effect on competition or consumers as an element of the predicate offense, and that this

is more significant than any inference from the legislative history of the criminal statute). And,

in any case, the history of both the firearm dispossession laws and the securities laws confirms

that Congress did not intend the exclusion to apply to securities violations like those committed

by Plaintiff.

        First, there is no merit to Plaintiff’s view that Congress intended the securities laws to be

a mere extension of unfair trade practice offenses. Pl.’s Mem. at 14. As Plaintiff admits, the

securities laws were enacted to address a distinct set of problems that were unique to the

securities market and, thus, were not being addressed by the unfair trade practices laws. See Pl.’s

Mem. at 13 (citing Annual Report of the Federal Trade Commission for the Fiscal year Ended



        10
           In light of these stark differences between the FTC Act and the securities laws, Plaintiff’s
attempt to draw parallels between the statutes, Pl.’s Mem. at 19, is misplaced.

                                                     10
         Case 1:17-cv-01643-JDB Document 15 Filed 02/01/18 Page 11 of 26



June 30, 1919). Congress confirmed the distinctiveness of the securities industry, and the needs

for particularized regulation thereof, when it passed the Securities Acts. Rather than merely

amend the existing trade laws, Congress created a whole new body of separate laws for securities

regulation, complete with a new and distinct agency – the SEC – to govern them. Securities Act

of 1933, 48 Stat. 74, 74; Securities Exchange Act of 1934, 48 Stat. 881.11

        Second, the legislative history of the Gun Control Act and the exclusion support a finding

that Congress did not intend to exclude all “non-violent, commercial-type offenses,” Pl.’s Mem.

at 10, and certainly not securities fraud. Whereas, the predecessor statute, the Federal Firearms

Act, initially made it unlawful for a person convicted of a “crime of violence” to possess a

firearm, Congress subsequently deleted “crime of violence” and replaced it with “crime

punishable . . . for a term exceeding one year.” Act of Oct. 3, 1961, Pub. L. No. 87-342, 75 Stat.

757 (“non-violent crime amendment”). Plaintiff’s suggestion that Congress intended only to

cover violent crimes cannot be reconciled with Congress’s deliberate alteration of the text

through passage of the non-violent crime amendment. Moreover, as Plaintiff acknowledges, the

bill resulting in the non-violent crime amendment was introduced, inter alia, to “‘assist in the

fight against organized crime and racketeering,’” which are “activities closely associated with

criminal violence.” Pl.’s Mem. at 10 (quoting H.R. Rep. No. 87-1202, at 3068 (1961)).

Significantly, securities fraud is a type of “racketeering,” as defined by the Racketeer Influenced

and Corrupt Organizations Act (“RICO”). See 18 U.S.C. § 1961. And this is not happenstance.


        11
           Because one of the general purposes of the securities laws is “to protect investors against
manipulation of stock prices,” and to “implement[] a ‘philosophy of full disclosure,’” Basic, Inc., 485
U.S. at 230 (quoting Sante Fe Indus., Inc. v. Green, 430 U.S. 462, 477-78 (1977)), it is not surprising that
other securities offenses might meet those purposes by prohibiting direct fraud on consumers or
competition. See, e.g., 15 U.S.C. § 80b-6 (making it unlawful for any investment adviser to defraud “any
client or prospective client.”). But, no such laws are at issue in this case, where Plaintiff was convicted of
making fraudulent statements about executive compensation in corporate disclosures.


                                                     11
         Case 1:17-cv-01643-JDB Document 15 Filed 02/01/18 Page 12 of 26



Congress determined that securities fraud frequently has close ties to organized crime. See infra

Part III.B (detailing the legislative history of RICO, and the connection between securities

violations and organized crime).

        Finally, when Congress enacted the Gun Control Act in 1968, including the exclusion, it

made clear that it only intended to exclude “certain commercial-type crimes” from the firearms

disability, not all commercial-type crimes. S. Rep. No. 90-1097, at 2202 (1968) (emphasis

added). Even though the Securities Acts had been in place since 1933 and 1934 – and Congress

thus had over three decades of experience with the securities laws to consider – Congress chose

not to list “securities violations” alongside the enumerated business offenses that are listed in the

exclusion. Had Congress intended to exclude all securities violations from the firearms

prohibitions it could, and would, have done so explicitly – as it plainly did for antitrust

violations, unfair trade practices, and restraints of trade – rather than concealing it in the

“pertaining to” and “similar” to language.12


        12
            Plaintiff’s argument that any ambiguity in the statute requires a ruling in his favor under the
rule of lenity, see Pl.’ Mem. at 16, is flawed for multiple reasons. As a threshold matter, the scope of the
statute is not ambiguous. Indeed, courts of appeals have uniformly agreed that the clear meaning of 18
U.S.C. § 921(a)(20)(A) is that it excludes from the firearms prohibition only those offenses that require
proof of an effect on competition and consumers. See supra Part II.A. But, even if the statute were
ambiguous, Plaintiff misunderstands the reach of the rule. Courts “do not resort to the rule of lenity
where, as here, [they] can otherwise resolve the ambiguity of the statute.” Stanko, 491 F.3d at 414 n.5
(quoting Bernitt v. Martinez, 432 F.3d 868, 869 (8th Cir. 2005)); see also United States v. Shabani, 513
U.S. 10, 17 (1994) (requiring use of traditional tools of statutory construction to resolve ambiguities
before resorting to the rule of lenity).
         For similar reasons, Plaintiff’s reliance on the doctrine of constitutional avoidance fares no better.
See Pl.’s Mem. at 16. The doctrine of constitutional avoidance only is invoked when a contrary
interpretation of a statute would “raise serious constitutional problems.” Edward J. DeBartolo Corp. v.
Fla. Gulf Coast Bldg. & Const. Trades Council, 485 U.S. 568, 575 (1988). The “constitutional
avoidance” doctrine is meant only to be the “last refuge of many an interpretive lost cause. Statutes
should be interpreted to avoid serious constitutional doubts, not to eliminate all possible contentions
that the statute might be unconstitutional.” Reno v. Flores, 507 U.S. 292, 314 n.9 (1993) (internal
citation omitted) (emphasis in original). As explained supra in Part III, the firearms dispossession
statutes are clearly constitutional as applied to Plaintiff, and thus there is no serious constitutional
question here. See Schrader v. Holder, 704 F.3d 980, 988 (D.C. Cir. 2013) (applying Section
922(g)(1) “creates no constitutional problem that we need to avoid”).
                                                      12
         Case 1:17-cv-01643-JDB Document 15 Filed 02/01/18 Page 13 of 26



III.    SECTIONS 922(g)(1) AND 922(d)(1) ARE CONSITUTIONAL AS APPLIED TO
        PLAINTIFF

        A.      Sections 922(g)(1) and 922(d)(1) do not Violate the Second Amendment

        In District of Columbia v. Heller, the Supreme Court addressed the “core” right of “law-

abiding, responsible citizens to use arms in defense of hearth and home,” and thus held that the

District’s ban on handgun possession in the home violated the Second Amendment. 554 U.S.

570, 634-35 (2008). However, the Heller Court cautioned, inter alia, that “nothing in [its]

opinion should be taken to cast doubt on longstanding prohibitions on the possession of firearms

by felons . . . .” Id. at 626-27.

        In light of the fact that “there are certain types of firearms regulations that do not govern

conduct within the scope of the [Second] Amendment,” the D.C. Circuit – like other Courts of

Appeals – has adopted a two-step test for Second Amendment challenges to firearms laws. See

Schrader v. Holder, 704 F.3d 980 (D.C. Cir. 2013). First, the court must determine “whether the

activity or offender subject to the challenged regulation falls outside the Second Amendment’s

protection.” Id. at 988-89 (quoting Heller v. District of Columbia, 670 F.3d 1244, 1252 (D.C.

Cir. 2011)). Second, if the court determines that Plaintiff falls within the category of “law-

abiding, responsible citizens” entitled to the protections of the Second Amendment, Heller, 554

U.S. at 635, only then must the court “determine whether the provision passes muster under the

appropriate level of constitutional scrutiny.” Schrader, 704 F.3d at 989 (quoting Heller, 670

F.3d at 1252). Plaintiff’s Second Amendment claims fail at each step.

                1.      Plaintiff’s Felony Conviction Categorically Excludes Him from the
                        Protection of the Second Amendment

        Plaintiff was convicted of nine felony counts, crimes that the sentencing court deemed so




                                                  13
         Case 1:17-cv-01643-JDB Document 15 Filed 02/01/18 Page 14 of 26



serious as to warrant eighteen months in prison and a $15 million fine. Notwithstanding the fact

that Plaintiff intentionally defrauded Brocade’s shareholders, thereby demonstrating that he is

neither “responsible” nor “law-abiding,” Plaintiff nonetheless claims to be entitled to the

protection of the Second Amendment because “there is no longstanding tradition of disarming

nonviolent felons like him.” Pl.’s Mem. at 30 (emphasis in original). Plaintiff is incorrect.

        Tellingly, Plaintiff fails to address the abundant case law on dispossession of felons,

which is discussed in Defendants’ opening brief, Defs.’ Mem. at 18-19. As explained therein,

the majority of courts to consider this issue, including this Court, have held that convicted felons,

whether their crimes were violent or not, fall outside the protections of the Second Amendment.

See Medina v. Sessions, Case No. 15-cv-01718 (CRC), 2017 WL 3912981, at *4 (D.D.C. Sept. 6,

2017) (holding that plaintiff with fraud conviction, “like any convicted felon” falls outside

protection of the Second Amendment) (citing cases from the Fourth, Fifth, Ninth, Tenth,

Eleventh Circuits).13 Nor have the Third, Seventh, and Eighth Circuits, while allowing as-

applied Second Amendment challenges in theory, permitted a successful challenge by a felon .14

Even the Third Circuit – perhaps the most generous in allowing as-applied challenges to Section

922(g)(1) – has explained that a convicted felon must face an “extraordinarily high – and perhaps

even insurmountable” burden in raising a Second Amendment challenge. Binderup v. Attorney




        13
           See Hamilton v. Pallozzi, 848 F.3d 614, 623 (4th Cir. 2017), cert. denied, 138 S. Ct. 500
(2017); United States v. Scroggins, 599 F.3d 433, 451 (5th Cir. 2010) (“Prior to Heller, this circuit had
already recognized an individual right to bear arms, and had determined that criminal prohibitions on
felons (violent or nonviolent) possessing firearms did not violate that right.”); United States v. Vongxay,
594 F.3d 1111, 1116 (9th Cir. 2010); In re United States, 578 F.3d 1195, 1200 (10th Cir. 2009); United
States v. Rozier, 598 F.3d 768, 771 (11th Cir. 2010).
        14
          See United States v. Williams, 616 F.3d 685, 693 (7th Cir. 2010); United States v. Woolsey, 759
F.3d 905, 909 (8th Cir. 2014).


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         Case 1:17-cv-01643-JDB Document 15 Filed 02/01/18 Page 15 of 26



Gen. U.S., 836 F.3d 336, 353 n.6 (3d Cir. 2016) (plurality op. of Ambro, J. for three judges).15

In other words, Courts of Appeals have been consistent in finding that convicted felons – violent

or not – remain categorically different from the law-abiding, responsible citizens Heller

identified as the heartland for Second Amendment protections.

        Suggesting this Court disregard this unanimous body of precedent, Plaintiff argues that

he should be deemed protected by the Second Amendment, contending that only felons who

committed violent crimes would historically have forfeited their right to possess firearms. Pl.’s

Mem. at 31. Plaintiff is incorrect. A key ratification proposal, which Heller identified as a

“highly influential” “precursor” to the Second Amendment, 554 U.S. at 604, provided that “no

law shall be passed for disarming the people or any of them “unless for crimes committed, or real

danger of public injury.” Bernard Schwartz, 2 the Bill of Rights: A Documentary History 662,

665 (1971) (hereinafter “Schwartz”) (emphasis added).16 Thus, the Second Amendment

incorporates an implicit “exclusion from the individual right to keep and bear arms” for those

convicted of felony charges because this limitation was implicitly “understood” as obvious at the

time of ratification. Stephen P. Halbrook, the Founders’ Second Amendment 273 (2008).17


        15
            Relying on Binderup, Plaintiff attempts to make much of the fact that the firearms prohibitions,
by encompassing crimes “punishable by imprisonment for a term exceeding one year,” may apply to less
serious offenses (i.e., misdemeanors). See Pl.’s Mem. at 31-32. But, any such concern has no bearing on
this case, in which Plaintiff was convicted of nine counts of violating federal securities laws – which are
felonies under any definition, and which were deemed so serious that Plaintiff was sentenced to eighteen
months in prison and to pay a $15 million fine.
        16
           Plaintiff attempts to dismiss this key historical resource, by contending that “the ‘crimes
committed’ language in the Pennsylvania proposal must refer to some subset of crimes, and the ‘real
danger of public injury’ language tells us what that subset is: crimes indicating a tendency to be
dangerous or violent.” Pl.’s Mem. at 38 (emphasis added). But Plaintiff fails to offer any explanation
beyond this conclusory statement. And his theory fails on its face because the Second Amendment
precursor excluded persons who committed crimes “or” those who posed a real danger of public injury.
Thus, the limitation clearly addresses to two independent categories.
        17
          Plaintiff attempts to highlight, instead, proposals from two other ratifying conventions, neither
of which changes the analysis here. Pl.’s Mem. at 36-37. The first is a proposal from the Massachusetts

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         Case 1:17-cv-01643-JDB Document 15 Filed 02/01/18 Page 16 of 26



Moreover, the purpose of the Second Amendment was in part to arm a “virtuous citizen[ry]” to

protect society against criminals, and other threats, not to prevent the “disarming of unvirtuous

citizens.” Id. at 1118 (citing Donald B. Kates, Jr., Handgun Prohibition and the Original

Meaning of the Second Amendment, 82 Mich. L. Rev. 204, 266 (1983)); see also United States v.

Bena, 664 F.3d 1180, 1184 (8th Cir. 2011) (discussing the “common-law tradition that the right

to bear arms is limited to peaceable or virtuous citizens”).18 And excluding convicted felons

from the right to bear arms is “consistent with the explicit purpose [set forth in] the Second

Amendment to maintain ‘the security of a free State.’” Vongxay, 594 F.3d 1111, 1117 (2010).

        In any event, the Court here need not determine the outer bounds of the exclusion of

criminals from Second Amendment protection. On its face, Plaintiff’s crime is a serious one,

and “persons who have committed serious crimes forfeit[] the right to possess firearms much the

way they forfeit other civil liberties, including fundamental constitutional rights.” Medina, 2017

WL 3912981, at *6 (quoting Binderup, 836 F.3d at 349); accord Hamilton, 848 F.3d at 626

(“Where the sovereign has labeled the crime a felony, it represents the sovereign’s determination


ratifying convention, which presented a long list of proposed rights, including the right of “peaceable
citizens [to] keep their own arms.” Schwartz, 681. But, the Massachusetts convention rejected this
proposal in its entirety. Id. And even if it still were relevant, the term “peaceable” is best understood to
cover persons who have not engaged in serious unlawful activity. As Plaintiff points out, “peaceable”
could mean, inter alia, “free from tumult,” Pl.’s Mem. at 36-37, a definition that surely encompasses
Plaintiff’s conduct to upend a public company and defraud its shareholders. The second proposal Plaintiff
notes is from the New Hampshire ratifying convention, which proposed a right to bear arms unless a
citizen “ha[s] been in Actual Rebellion.” Id. at 37. But this narrow exception provides little information
about the broader exclusion proper under the Second Amendment as actually adopted, given that Heller
has made clear that the appropriate restrictions on Second Amendment rights include “longstanding
prohibitions on possession of firearms by felons,” not just those in “actual rebellion.” 554 U.S. at 626.

        18
           Plaintiff rejects the cases and scholarship adopting a “virtuous citizen[ry]” reasoning out of
hand, but provides no case or evidence to the contrary. Pl.s’ Mem. at 33. Plaintiff seems merely to
present his personal opinion that he finds the historical sources on this point unconvincing, id.,
notwithstanding that the fact that “most scholars of the Second Amendment agree that the right to bear
arms was tied to the concept of a virtuous citizenry.” United States v. Yancey, 621 F.3d 681, 684-85 (7th
Cir. 2010). Heller itself cautioned against reliance on the Second Amendment to undercut “longstanding
prohibitions on the possession of firearms by felons.” 554 U.S. at 626-27.

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        Case 1:17-cv-01643-JDB Document 15 Filed 02/01/18 Page 17 of 26



that the crime reflects grave misjudgment and maladjustment.”); id. at 627 (“Theft, fraud, and

forgery are not merely errors in filling out a form or some regulatory misdemeanor offense; these

are significant offenses reflecting disrespect for the law.”). Indeed, felonies and/or fraud have

been deemed serious crimes for centuries. See Hamilton v. Pallozzi, 165 F. Supp. 3d 315, 326

(D. Md. 2016) (“Although the particular statutes that Plaintiff violated are directed toward

misappropriation of credit cards, the underlying misconduct is the kind of misconduct that the

law has proscribed from time immemorial. Plaintiff’s crimes are not technical or regulatory

offenses: they are black-letter mala in se felonies reflecting grave misjudgment and

maladjustment.”), aff’d, 848 F.3d 614 (4th Cir. 2017); see also United States v. Phillips, 827

F.3d 1171, 1176 (9th Cir. 2016) (“[W]e are hard pressed to conclude that a crime that has always

been a federal felony cannot serve as the basis of a felon firearm ban, simply because its actus

reas may appear innocuous.”).

       Nor is it correct that “there were no common-law antecedents to modern felony

dispossession laws,” Pl.’s Mem. at 35, as Plaintiff contends. Neither a felon, nor even his heirs

through him, could own property at common law. See 3 William S. Holdsworth, A History of

English Law 69 (3d ed. 1923); see also Vernon M. Winters, Criminal RICO Forfeitures and the

Eighth Amendment ‘Rough’ Justice is Not Enough, 14 Hastings Const. L.Q. 451, 457 (1987) (“A

felon who had broken the social contract no longer had any right to social advantages, including

transfer of property . . . .”). It is hardly a reach to conclude that felons likewise would have been

precluded from possessing a firearm. See generally Binderup, 836 F.3d at 349 (“The view that

anyone who commits a serious crime loses the right to keep and bear arms dates back to our

founding era.”).




                                                 17
        Case 1:17-cv-01643-JDB Document 15 Filed 02/01/18 Page 18 of 26



       Accordingly, Plaintiff falls within a class of persons who historically has been, and

continues to be, deemed outside the protections of the Second Amendment.

                2.     Sections 922(g)(1) and 922(d)(1) are Constitutional as Applied to Plaintiff
                       because they Satisfy Intermediate Scrutiny

       Even assuming arguendo that Plaintiff could assert a right under the Second Amendment,

his claim still would fail at the second step of the analysis. Under D.C. Circuit precedent,

intermediate scrutiny is the appropriate standard for a Second Amendment challenge to Section

922(g)(1) by a person or persons who are not “law-abiding, responsible citizens.” See Schrader,

704 F.3d 989. To satisfy intermediate scrutiny, “a statutory classification must be substantially

related to an important governmental objective.” Id.; see also Clark v. Jeter, 486 U.S. 456, 461

(1988); Heller, 670 F.3d at 1258. “[T]he fit between the challenged regulation and the asserted

objective [need only] be reasonable, not perfect.” Schrader, 704 F.3d at 990. And the D.C.

Circuit has made clear that, while it subjects the law to “meaningful judicial review,” it also

“accord[s] substantial deference to the predictive judgments” of the legislature. Heller II, 670

F.3d at 1259.

       Plaintiff does not, and cannot, dispute that the government has an “obviously important”

interest in preventing gun violence. See Schrader, 704 F.3d at 989-90. Nor is there any question

that the principal objective of 18 U.S.C. § 922(g)(1) is “to keep firearms away from the persons

Congress classified as potentially irresponsible and dangerous.” Barrett v. United States, 423

U.S. 212, 218 (1976); see also Small v. United States, 544 U.S. 385, 393-94 (2005) (Congress

enacted section 922(g)(1) to “keep guns out of the hands of those who have demonstrated that

they may not be trusted to possess a firearm without becoming a threat to society”); United

States v. Daugherty, 264 F.3d 513, 516 n.7 (5th Cir. 2001) (“Congress’[s] intent in enacting [§

922(g)] . . . was to keep firearms out of the hands of presumptively risky people”) (quoting

                                                 18
        Case 1:17-cv-01643-JDB Document 15 Filed 02/01/18 Page 19 of 26



Dickerson v. New Banner Inst., Inc., 460 U.S. 103, 112 n. 6 (1983)); Burrell v. United States,

384 F.3d 22, 27 (2d Cir. 2004) (Section 922(g)(1) “was one of several measures enacted by

Congress to ‘prohibit[] categories of presumptively dangerous persons’ from possessing

firearms”) (quoting Lewis v. United States, 445 U.S. 55, 64 (1980)). Indeed, Congress’s

exclusion of all felons was the result of thoughtful deliberation and decades of experience. See

United States v. Laurent, 861 F. Supp. 2d 71, 105 (E.D.N.Y. 2011) (explaining that Congress

enacted the non-violent crime amendment to Section 922(g)(1) because “[a]fter three decades of

experience, it saw the need to expand the prohibition to all indictees.”).

       Plaintiff contends that, because he was convicted of a non-violent crime, Defendants

cannot satisfy intermediate scrutiny by showing a substantial relationship between their objective

of preventing violent crime and prohibiting him from possessing a firearm. Pl.’s Mem. at 43.

(arguing that the statutes are overbroad because they apply to both violent and non-violent

felons). Plaintiff fails to recognize that Congress is empowered to establish certain “categorical

disqualifications” and “is not limited to case-by-case exclusions of persons who have been

shown to be untrustworthy with weapons.” Skoien, 614 F.3d at 641; see also Bonidy v. United

States Postal Serv., 790 F.3d 1121, 1127 (10th Cir. 2015 (“Intermediate scrutiny does not require

a perfect fit between a rule’s objectives and the circumstances of each individual subject to the

rule.”); United States v. Elkins, 495 F. App’x 330, 332 (4th Cir. 2012). Such “bright line” rules

serve the public interest: the “categorical approach used in §§ 922(g)(1) [and 922(d)(1)] allows

for uniform application and ease of administration as well as further deterrence of the

commission of another crime.” Kanter v. Sessions, Case No. 16-c-1121, 2017 WL 6731496, at

*3-4 (E.D. Wis. Dec. 29, 2017). Moreover, even if there might be some hypothetical nonviolent

felony conviction for which application of Sections 922(g)(1) and 922(d)(1) were not necessary



                                                 19
         Case 1:17-cv-01643-JDB Document 15 Filed 02/01/18 Page 20 of 26



to serve the public interest, that hypothetical is not at issue here, where Plaintiff was convicted of

not one, but nine felony counts and served eighteen months in prison. In this context,

“[i]rrespective of whether [the] offense[s] w[ere] violent in nature, [Plaintiff] has shown manifest

disregard for the rights of others. He may not justly complain of the limitation on his liberty

when his possession of firearms would otherwise threaten the security of his fellow citizens.” Id.

(citing United States v. Emerson, 270 F.3d 203, 260 (5th Cir. 2001)); see also Yancey, 621 F.3d

at 685 (“Most felons are nonviolent, but someone with a felony conviction on his record is more

likely than a nonfelon to engage in illegal and violent gun use”).19

        Accordingly, 18 U.S.C. §§ 922(g)(1) and 922(d)(1) do not violate the Second

Amendment as it applies to Plaintiff, a convicted felon.

        B.      Plaintiff’s Equal Protection Claims Fails as a Matter of Law

        Plaintiff claims that Sections 922(g)(1) and 922(d)(1) violate his equal protection rights

under the Fifth Amendment because they treat him – due to his status as a convicted securities

felon – differently from other white-collar criminals whose predicate offenses fall within the

exclusion from the firearms dispossession laws. Pl’s. Mem. at 24-28. Plaintiff’s equal

protection claims fail because the distinction drawn by Congress is rationally related to the

legitimate interest in regulating firearms.

        Federal statutes challenged for denial of equal protection are entitled to deferential


        19
           Contrary to Plaintiff’s view, Heller II and Heller III do not require that the government provide
an empirical study that “distinguish[es] among felons.” Pl.’s Mem. at 44. The Supreme Court made clear
that the government may satisfy intermediate scrutiny by relying “solely on history, consensus, and
simple common sense.” United States v. Carter, 669 F.3d 411, 418 (4th Cir. 2012) (quoting Fla. Bar v.
Went for It, Inc., 515 U.S. 618, 628 (1995) (citing Burson v. Freeman, 504 U.S. 191, 211 (1992). In any
event, while Plaintiff may disagree with the import of Defendants’ empirical evidence on this matter, see
Pl.’s Mem. at 28, courts that have considered these same studies have found them compelling. See
Kaemmerling v. Lappin, 553 F.3d 669, 683 (D.C. Cir. 2008) (relying on study that shows “a large
percentage of the crimes nonviolent recidivists later commit are violent.”).


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         Case 1:17-cv-01643-JDB Document 15 Filed 02/01/18 Page 21 of 26



rational basis review if their “legislative classification or distinction ‘neither burdens a

fundamental right nor targets a suspect class.’” Vacco v. Quill, 521 U.S. 793, 799 (1997)

(quoting Romer v. Evans, 517 U.S. 620, 631 (1996)). As discussed supra in Part III.A, Sections

922(g)(1) and 922(d)(1) do not burden a fundamental right of Plaintiff, because his felony

conviction categorically excludes him from the class of “law abiding-responsible citizens” who

are entitled to Second Amendment protections. Nor does Plaintiff allege that he is a member of

any suspect class. Accordingly, Plaintiff’s equal protection claims are subject to rational basis

review.20

        Under rational-basis review, a classification in a statute “bear[s] a strong presumption of

validity.” FCC v. Beach Comm., Inc., 508 U.S. 307, 314 (1993). To meet rational basis review

“a legislative choice is not subject to courtroom fact-finding and may be based on rational

speculation and unsupported by evidence or empirical data.” Id. Moreover, “it is entirely

irrelevant for constitutional purposes whether the conceived reason for the challenged distinction

actually motivated the legislature. Id. In sum, “[w]here there are ‘plausible reasons’ for

Congress’ action, ‘our inquiry is at an end.’” Id. at 313-14.

        When Congress enacted the Gun Control Act of 1968, including 18 U.S.C. §§ 922(g)(1),

922(d)(1), and 921(a)(20)(A), its purpose was “to keep firearms out of the hands of potentially

irresponsible persons, including convicted felons.” Kruckel, 1993 WL 765648, at *18 (citing



        20
           Plaintiff does not contend that he is a member of any suspect class. He, thus, concedes that, if
he is not protected by the Second Amendment, then the firearms prohibitions do not burden any
fundamental right and rational basis review is the proper standard for his equal protection claims. Pl.’s
Mem. at 24. However, even assuming arguendo, that Plaintiff were among the class of “law abiding-
responsible citizens” who are entitled to Second Amendment protections, the firearms statutes would
satisfy the standard of intermediate scrutiny as applied to Plaintiff under the Fifth Amendment, for the
same reasons the statutes satisfy intermediate scrutiny under the Second Amendment. See supra Part
II.A.2 (analyzing Plaintiff’s Second Amendment claims under intermediate scrutiny).


                                                     21
         Case 1:17-cv-01643-JDB Document 15 Filed 02/01/18 Page 22 of 26



Barrett, 423 U.S. at 220-21). In enacting the exclusion set forth in 18 U.S.C. § 921(a)(20)(A),

Congress plausibly could determine that persons convicted of certain types of offenses –

antitrust, unfair trade, restraint of trade – “were less likely as a group than other categories of

convicted felons to abuse the privilege of possessing a firearm. Id.21

        In light of Congress’s objectives and purpose, it was not irrational for it to conclude that

securities felons are more likely to use firearms irresponsibly than antitrust or trade violators.

Unlike trade and antitrust, securities fraud has been tied to other offenses that threaten public

safety.22 In perhaps the starkest example, the connection between securities violations and other

dangerous offenses is demonstrated by the inclusion of securities fraud in the Racketeer

Influenced and Corrupt Organizations Act (“RICO”). Sections 1962(b) and (c) of RICO prohibit

conducting the affairs of an enterprise, as well as acquiring an interest in an enterprise, through a

“pattern of racketeering activity.” The term “racketeering activity” is defined to include, inter

alia, violent crimes (e.g., murder, kidnapping), pornography, narcotics trafficking, gambling,

embezzlement, bribery, securities fraud, mail fraud and wire fraud. See 18 U.S.C. § 1961. By

contrast, the definition of “racketeering” does not include antitrust or trade violations.

        Securities fraud was included in RICO because organized crime had become frequently

involved in securities thefts. See S. Rep. No. 91-617, 77 (1969) (“It is most disturbing . . . to

learn that organized crime has begun to penetrate securities firms and the Stock Exchange


        21
           Plaintiff takes issue with the strength of Defendants’ empirical evidence supporting this basis
for Congress’s determination. Pl.’s Mem. at 26. But, the fact that there is room for disagreement about
the efficacy of a Congressional classification does not render it irrational. See FCC, 508 U.S. at 314
(“The Constitution presumes that, absent some reason to infer antipathy, even improvident decisions will
eventually be rectified by the democratic process and that judicial intervention is generally unwarranted
no matter how unwisely we may think a political branch has acted.”).
        22
          Also unlike securities fraud violations, antitrust-type violations were excluded because
Congress “noted that antitrust-type violations [were] not felonies under Federal law.” S. Rep. No. 1866,
at 77 (1966).

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        Case 1:17-cv-01643-JDB Document 15 Filed 02/01/18 Page 23 of 26



itself.”). At the time RICO was being considered, there were “over 30 pending cases . . .

involving thefts of securities from brokerage houses [and] [c]lose associates and relatives of La

Cosa Nostra figures [we]re known to be involved in at least 11 of these cases.” Id. In

recognition of the major role played by organized crime in disposal of stolen securities, Congress

held hearings specifically to explore the subject. See Hearings Before the Permanent Subcomm.

on Investigations of the Senate Comm. on Government Operations, 92d Cong., 1st Sess. 1-2

(1071). During those hearings, Congress noted that criminal involvement in areas of securities

fraud were not limited to market manipulation and the sale of stolen securities. Id. at 1250.

Against this backdrop, Congress rationally could determine that securities felons are more likely

than antitrust and trade practice violators to commit dangerous offenses. In fact, the hearings on

RICO occurred just one year after the Gun Control Act of 1968, which included the exclusion. It

is, thus, reasonable to infer that Congress would have been aware of the connection between

organized crime and securities fraud at the time when it decided not to exclude securities

violations from the firearms dispossession laws.

       Finally, the reasoning in a similar case denying another white-collar felon’s equal

protection claims is instructive here. In United States v. Kruckel, a district court considered the

plaintiff’s prior conviction for tax evasion. 1993 WL 765648 (D.N.J. Aug. 13, 1993). Just as

Plaintiff does here, Kruckel argued that excluding some business felons, but not tax felons, was

an “unconstitutionally irrational classification.” Id at *18. The Kruckel Court held that

“Congress could have rationally assumed that on the whole, the class of persons convicted of tax

offenses are more likely than the class of antitrust and trade practices felons to also have

committed other, more serious, offenses, such as ones involving drugs, racketeering, or extortion,

which led to their efforts to evade taxation.” Id. The Court explained that “Congress could



                                                 23
        Case 1:17-cv-01643-JDB Document 15 Filed 02/01/18 Page 24 of 26



logically have assumed that the total spectrum of criminal activity engaged in by those persons

ultimately charged and convicted under the tax laws is in general broader and potentially more

antisocial or dangerous than that engaged in by persons convicted of the business related

offenses excluded by § 921(a)(2)(A).” Id. The reasoning from Kruckel applies ten-fold in the

instant case. Here, the predicate offense at issue (securities fraud) not only could lead to

racketeering and other dangerous activities associated with organized crime, but has actually

been deemed by Congress to constitute a form of racketeering in and of itself.

       Accordingly, Congress’s decision to preclude securities felons from possession of

firearms, while allowing those who committed other types of business crimes to possess

firearms, is rationally related to responsible limitations on firearms possession, and Plaintiff’s

equal protection claims should be dismissed.

                                          CONCLUSION

       Accordingly, for the foregoing reasons and for the reasons stated in Defendants’

Memorandum in Support of their Motion to Dismiss, this case should be dismissed with

prejudice.



DATED this 1st day of February 2018.



                                       Respectfully submitted,

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                                                 24
Case 1:17-cv-01643-JDB Document 15 Filed 02/01/18 Page 25 of 26



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                               25
        Case 1:17-cv-01643-JDB Document 15 Filed 02/01/18 Page 26 of 26



                               CERTIFICATE OF SERVICE

       I hereby certify that on this 1st day of February 2018, I served the foregoing document on

all counsel of record by filing it via CM/ECF in accordance with the Local Rules.


Executed on February 1, 2018, in Washington, D.C.



                                     /s/ Emily B. Nestler
                                     Emily B. Nestler
